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                     AFFIDAVIT OF MICHAEL STEPHEN CARR
State of Mississippi
County of Bolivar

        Personally came and appeared before me, the undersigned Notary, the within named
MICHAEL STEPHEN CARR who is a resident of Bolivar County, State of Mississippi, and
makes this statement and Affidavit upon oath and affirmation of belief and personal
knowledge that the following matters, facts and things set forth are true and correct to the
best of his knowledge:



   l. My name is Michael Stephen Carr. I reside at 606 Sixth Avenue Cleveland, MS 38732.
   2.   My date of birth is August 28. 1981.

   3.   I have owned and operated Carr Law Firm, PLLC since June 1,2017. I have been licensed

        to practice law in the State of Mississippi since May 2,2006.

   4.   On July 21,2A22I sent a discovery demand to the Municipal Court Clerk of Lexington,

        MS requesting all discovery per Miss. R. Crim Proc.1.7.2 regarding the charges against my

        client, Eric Redmond.

   5.   Miss. R. Crim Proc.17.2 requires the prosecution to disclose to a defendant's attorney the

        following:

           (l) Names and addresses of all witnesses in chief proposed to be offered by the
               proseculion at trial, together with a copy of the contents of any statement (written,

                recorded or otherwise preserved) of each such witness and the substance of any

                oral statement made by any such witness;

           (2) Copy of any written or recorded statement of the defendant and the substance of

                any oral statement made by the defendant;

           (3) Copy of the criminal record of the defendant;
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       (4) Any reports, statements, or opinions of experts (written, recorded or otherwise

           preserved) made in connection with the particular case and the substance of any

            oral statement made by any such expert;

       (5) Any physical evidence, photographs, and data or information that exists in

            electronic or magnetic form relevant to the case or which may be offered in

            evidence; and

       (6) Any exculpalory material concerning the defendant.

6. I copied City Prosecutor Erica Hamer on the JuLy 21, 2022 discovery demand. [See
   Attached Ex. I to this Affidavit.l

7. I received no response from either the court or the prosecutor.
8. On August 11, 2022, Brittany Dean, an associate attorney in my office, traveled to
   Lexington Municipal Court along with Mr. Redmond for the first trial date for Mr.

   Redmond. Attorney Dean was advised by the City Clerk that the case would have to be

   continued to another date as they did not have the file.

9. On Thursday, August 25,2022,1traveled to Lexington Municipal Court to attend the reset
   trial date for Eric Redmond.

10. When I announced ready for trial, I first learned of the existence of body cam video of the

   incident with my client from the arresting officer, former LPD officer James Shires.

1i. Former LPD Officer Shires advised that he did not have the body cam footage with him

   and the case would need to be continued.

12. This raised the question to me as to whether LPD maintained custody and control of this

   body cam footage evidence, or whether it allowed former LPD officer Shires to take

   possession of the footage personally.
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13. Due to the probative value of this body cam footage, I agreed to continue this matter to

   Thursday, September 22, 2022.

14. On Friday, August 26, 2022, in order to maintain a paper trail, I requested in writing

   production of that body cam footage from the prosecutor. [See Attached Ex.2 to this

   Affidavit.l

15. I have received no response to this request for production.

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